      Case 4:12-cr-00699 Document 54 Filed on 10/01/13 in TXSD Page 1 of 1




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA,                   §
                                            §
                    Government,             §
                                            §
VS.                                         §     CRIMINAL NO. H-12-699-2
                                            §
KELLY TAYLOR GIPSON,                        §
                                            §
                    Defendant.              §


                                        ORDER

       The defendant filed an unopposed motion for continuance of the deadline to file

objections and of the sentencing hearing, (Docket Entry No. 53). The motion for continuance

is GRANTED. Objections to the presentence report are due by October 25, 2013. The

sentencing hearing is reset to November 13, 2013 at 9:00 a.m.

             SIGNED on October 1, 2013, at Houston, Texas.

                                                ______________________________________
                                                         Lee H. Rosenthal
                                                   United States District Judge
